
USCA1 Opinion

	













                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________

        No. 95-1666

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                                   DAVID P. PRATT,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Steven J. McAuliffe, U.S. District Judge]
                                              ___________________

                                 ____________________


                                        Before

                                Torruella, Chief Judge,
                                           ___________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                              and Selya, Circuit Judge.
                                         _____________

                                 ____________________


            M. Kristin Spath, Assistant Federal Defender, for appellant.
            ________________
            Peter E. Papps, First Assistant U.S.  Attorney, with whom Paul  M.
            ______________                                            ________
        Gagnon, United States Attorney, was on brief for appellee.
        ______  ______________________

                                 ____________________

                                   January 18, 1996
                                 ____________________


















                      ALDRICH, Senior Circuit Judge.   Defendant David P.
                               ____________________

            Pratt,  having been allowed to withdraw a plea of guilty, was

            tried  to a jury for  violation of United  States Code, Title

            18, Section  876 (Mailing  a  Threatening Communication)  and

            found guilty.   He  now appeals,  with new  counsel, claiming

            violation  of   Fed.R.Evid.  404(b)   by  the   admission  of

            prejudicial testimony of another  threat, and from a sentence

            that  included a two level  upward departure.   We remand for

            further consideration of sentence.

                      In   August,   1991,  defendant's   automobile  was

            repossessed  for nonpayment of an installment, and discovered

            to  contain  a  substantial  number of  automatic  and  semi-

            automatic firearms and explosive  devices.  These were turned

            over to  the Goffstown, New Hampshire,  Police Department but

            eventually found to be defendant's lawful property.  In spite

            of  this  finding, Police  Chief  Stephen  Monier refused  to

            return  them,  absent  a  court order.    Defendant,  greatly

            angered  by  the delay,  complained a  number  of times.   He

            phoned  the police station on  the morning of  July 20, 1992,

            and was told to call  back that afternoon.  An hour  later he

            telephoned Chief Monier's home and spoke to a young friend of

            Monier's  ten year  old daughter,  who said  that he  was not

            there.   The man stated that  he was David Pratt  and to tell

            her father, "I  know where he lives."    When informed of the

            call, Monier  took it to be  a serious threat.   On September



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            14,  1992, a  New  Hampshire court  ordered that  defendant's

            weapons and  devices be  returned to him,  and the  Goffstown

            police complied.

                      On October  1, 1992,  Monier  received through  the

            mail,  postage prepaid, a carton which was found to contain a

            dead and badly mutilated  pig of some 29 pounds.   There were

            no   tell-tale  writings   on,  or   in,  the   package,  but

            fingerprints, identified to be defendant's, were found on the

            outside.   At trial defendant testified that the pig was his;

            that  he had  shot it,  following an  accident, and  that one

            Jennifer  Gagnon stole it from his refrigerator and mailed it

            to Monier without his  suggestion or knowledge.  By  the time

            of trial, Gagnon was deceased.

                      Although  there  was  other   supporting  evidence,

            including defendant's boasting to a friend that he had sought

            to scare Monier  by sending the mutilated pig, the government

            chose  to  tighten  its  case by  eliciting  evidence  of the

            threatening telephone call.  Defendant objected at the outset

            to the admission of  any evidence of the  call, and to  "this

            whole line  of  testimony."   The  court disagreed,  but  did

            caution the jury to consider any evidence, if a prior threat,

            as distinct from the pending charge, and as relevant "only to

            show  things  like  the  identity of  the  defendant  or  his

            possible  motive or  his  possible intent  or the  absence of





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            mistake  or  accident with  respect to  the charge  that's on

            trial here".

                      On  appeal  defendant  argues  that  the  telephone

            threat  was very  different from  the one  with which  he was

            charged, and that its introduction  was simply to blacken his

            character as forbidden by Rule 404(b).  See, United States v.
                                                    ___  _____________

            Tuesta-Toro, 29 F.3d  771, 775 (1st Cir. 1994), cert. denied,
            ___________                                     ____________

            ___ U.S.  ___, 115  S.Ct. 947,  130 L.Ed.2d  890 (1995).   He

            contends,  first, that it  was inadmissible  altogether under

            Fed.R.Evid.  404(b),1  or that  its  prejudice  would in  any

            event  substantially exceed its probative value, rendering it

            excludable  under  Fed.R.Evid.  403.2   The  government says,

            inter  alia, that  the  threat  displayed defendant's  grudge
            ___________

            against Chief Monier, an intent to act upon it, and knowledge

            of  his victim's  residence  (to which  the packaged  pig was

            addressed),  as well as  being a  self-identification against

                                
            ____________________

            1.  Rule 404(b) provides, in relevant part:

                      Evidence of other crimes, wrongs, or acts
                      is not admissible to prove  the character
                      of a  person in  order to show  action in
                      conformity therewith.   It may,  however,
                      be admissible for other purposes, such as
                      proof  of  motive,  opportunity,  intent,
                      preparation,  plan, knowledge,  identity,
                      or absence of mistake or accident.

            2.  Rule 403 states, in relevant part:

                      Although   relevant,   evidence  may   be
                      excluded  if  its   probative  value   is
                      substantially outweighed by the danger of
                      unfair prejudice . . .

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            his  own interest.  We quite agree that the disputed evidence

            had  "special relevance" to  material issues, Tuesta-Toro, 29
                                                          ___________

            F.3d  at  775 --  even  defendant  concedes the  purpose  for

            introducing it  included showing  the identity of  the person

            who  mailed  the  pig --  but  the  prosecution's  use of  it

            progressed well beyond the necessary.  Its admission provided

            the  basis   for  subsequent  dramatization  of   the  call's

            emotional effect upon Monier  and his family, particularly on

            his young daughter.  This was not relevant, and magnified the

            very prejudice that  the Rules of  Evidence were designed  to

            minimize.3   Fed.R.Evid. 403,  404(b).  Tuesta-Toro,  29 F.3d
                                                    ___________

            at 775; United  States v. Aguilar-Aranceta, 58  F.3d 796, 798
                    ______________    ________________

            (1st Cir. 1995). 

                      However,  defendant's failure  to call  the court's

            attention  to prosecutorial  excess as  it occurred,4  and to

            request consideration  of  the probative  value  of  proffers

            concerning, for  example, the anxiety of  the Chief's family,

            his  keeping a firearm beside  his bed, and  the inability of

                                
            ____________________

            3.  The  government's brief  is  totally silent  in spite  of
            defendant's detailed  complaint.   At oral argument  its sole
            response  to our questioning was that its purpose was to make
            sure the jury  realized there had been  a call, and that  the
            "cold record"  may look worse  to us.   Counsel's thermometer
            needs adjustment.

            4.  Defendant's  objection  at   the  time  of  its   initial
            introduction  "to   this  line   of  testimony"  related   to
            admissibility  of  the  fact  of the  phone  call,  correctly
                                    ____
            overruled by  the court, not to  the subsequent dramatization
            of  the family's fears,  which elicited not  a single protest
            from defense counsel.

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            his  little  girl  to  sleep alone  following  the  telephone

            threat, in light of their likely prejudicial effect, deprived

            the court  of an  opportunity to make  particularized rulings

            which we could  now review. It  is counsel's duty not  to sit

            idly  by  while  his  case is  conspicuously  suffering,  see
                                                                      ___

            Clemente v.  Carnicon-Puerto Rico Mgmt. Assoc.,  52 F.3d 383,
            ________     _________________________________

            387  (1st Cir. 1995), and it was his responsibility to object

            when  testimony  strays outside  the  court's  prior limiting

            instruction.   Courts may be  reluctant to interfere  and may

            have  difficulty deciding  whether  to exclude  testimony  on

            their own.   We review  for plain error  alone.   Fed.R.Evid.

            103.   Tuesta-Toro,  29 F.3d  at 775  (absent contemporaneous
                   ___________

            objection,  court  will  reverse  only  if  error  "seriously

            affected the fundamental fairness  and basic integrity of the

            proceedings") (citation omitted).

                      While testimony  as  to the  threat's  effect  upon

            Monier and his family must have been detrimental to defendant

            --  though not  so  pervasive  as  defendant  claims  --  the

            government's  case  on  the merits  was  too  strong, in  our

            opinion,  to have  made this  harm to  defendant a  factor of

            consequence in  the result.  Defendant's  own statements, his

            fingerprints on  the package, his established  anger over the

            unlawful retention of his firearms,  his ownership of the pig

            carcass,  and, notably, the absence of  any visible motive to

            have caused  the conveniently deceased Gagnon  to have mailed



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            it,  were overwhelming.   While  we might  order a  new trial

            simply to teach  government counsel that his primary  duty is

            to obtain justice, not  to win cases, see Brady  v. Maryland,
                                                  ___ _____     ________

            373  U.S. 83,  87-88  (1963), we  hope  we have  said  enough

            without such draconian action.

                      As to  the sentence, application of    4A1.1 of the

            Sentencing Guidelines yielded criminal history category (CHC)

            I, based on one point assigned for defendant's only countable

            prior  conviction.   However, the  court found CHC  I clearly

            under-represented  the  seriousness  of defendant's  criminal

            history and his recidivism.  Impressed by a "string of zeros"

            in defendant's  pre-sentence report (PSR) indicating a series

            of  past convictions  -- for  disorderly conduct,  attendance

            violations  while in  the  military,  criminal liability  for

            conduct  of  another,   criminal  threatening,  assault,  and

            driving  while intoxicated -- for  which no "points" could be

            assigned under   4A1.1, the  court added 1 point for  each of

            the last four  and bumped  defendant into CHC  III.   Notably

            with respect  to recidivism, each of  these were misdemeanors

            that  occurred a  minimum of  13 years  prior to  the instant

            offense.

                      Section 4A1.3 allows a sentencing court to consider

            uncounted  prior convictions and  other criminal  behavior in







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            increasing the CHC5  if "reliable information indicates  that

            the criminal history category does not adequately reflect the

            seriousness of  the defendant's past criminal  conduct or the

            likelihood  that  the defendant  will  commit other  crimes."

            U.S.S.G.   4A1.3.   Its decision  to depart, as  well as  the

            degree  of  departure,  is  entitled to  respect,  given  its

            "special competence," experience, and "superior feel" for the

            case.  United  States v.  Rivera, 994 F.2d  942, at 950,  951
                   ______________     ______

            (1st Cir. 1993) (citing  Williams v. United States, 503  U.S.
                                     ________    _____________

            193, 112 S.Ct. 1112, 1121 (1992));  United States v. Shrader,
                                                _____________    _______

            56 F.3d  288, 292  (1st Cir.  1995).   Once we  determine the

            court  acted  within its  discretion,  our  only question  is

            whether its decision was reasonable and adequately explained.

            Id.
            ___

                      We  first  note  that  defendant  is  incorrect  to

            suggest    that   the   Guidelines   forbid   or   discourage

            consideration  of old  convictions in  a decision  to depart.

            Cf.  Rivera,  994 F.2d  at  948-49  (detailing forbidden  and
            ___  ______


                                
            ____________________

            5.  The relevant provisions include:

                      (a)   prior   sentence(s)  not   used  in
                      computing  the criminal  history category
                      . . .

                      . . .

                      (e) prior similar adult  criminal conduct
                      not resulting in a criminal conviction.

            U.S.S.G.   4A1.3.

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            discouraged  departures).   Likelihood  of  recidivism  is an

            alternative  justification  to  under-representation  of  the
            ___________

            seriousness of defendant's criminal history for a decision to

            depart upward.   U.S.S.G.   4A1.3; Schrader, 56  F.3d at 292.
                                               ________

            The  court  here made  the  latter  finding, based  on  prior

            sentences for similar conduct (1979 assault and 1977 criminal

            threatening), and  serious dissimilar  conduct (1980  DWI and

            1977 criminal  liability for conduct of  another and theft6).

            Where  these considerations are  appropriate to  the decision

            whether to  depart, and defendant's PSR  provides an adequate

            basis, we cannot  substitute our judgment.  United  States v.
                                                        ______________

            Quinones,  26 F.3d 213, 219 (1st Cir. 1994); Rivera, 994 F.2d
            ________                                     ______

            at 952.   See also Williams,  503 U.S. at  205, 112 S.Ct.  at
                      ___ ____ ________

            1121.  However, once the court believes a properly calculated

            CHC  significantly  under-represents  a defendant's  criminal

            history,  the Guidelines direct  the court's  departure quite

            specifically:  the court must find that "defendant's criminal

            history most  closely resembles that of  most defendants with
                    _____________                    ____

            [the] Criminal History Category [the court seeks to impose]."

            U.S.S.G.    4A1.3 (emphasis  added).   If it  were sufficient

            simply to  add points for  conduct excluded from  the initial

            CHC calculation  to arrive at a higher  category, the   4A1.1

            parameters for guiding CHC determination would  be nullified.

                                
            ____________________

            6.  The court  indicated this was robbery.   Although robbery
            was the original indictment, defendant ultimately pled guilty
            to theft.

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            The  court's  mere  conclusion  that a  CHC  III  "adequately

            reflects defendant's criminal history" fails to shed light on

            this question.

                      Although   we  accord  "substantial  leeway"  to  a

            sentencing court's determination of the appropriate degree of

            departure,

                      this freedom does  not relieve [it]  from
                      explaining its ultimate  decision of  how
                      far to depart.   Merely explaining why  a
                      departure was made  does not fulfill  the
                      separate   requirement  of   stating  the
                      reasons   for  imposing   the  particular
                                                     __________
                      sentence.

            Quinones,  26 F.3d  at 219  (emphasis added)  (quoting United
            ________                                               ______

            States v.  Rosales, 19 F.3d  763, 770 (1st Cir.  1994)).  See
            ______     _______                                        ___

            also Rivera,  994 F.2d at 946, 949-50.  Because we are unable
            ____ ______

            to evaluate  responsibly the reasonableness of  the extent of

            the court's departure  absent explication,  which we  observe

            might  include at least an  indication of why  a one category

            increase is inadequate, we will  follow our past practice  of

            ordering a limited  remand for clarification  while retaining

            appellate jurisdiction.  See Quinones, 26 F.3d at 219-20.
                                     ___ ________

                      We affirm  defendant's  conviction and  remand  for
                      ___________________________________________________

            further proceedings with respect to sentence.
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